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4    Telephone: (916) 554-2797
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7
8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )    CR. S 08-392 GEB
12             Plaintiff,              )
                                       )   STIPULATION AND [PROPOSED] ORDER
13                                     )   CONTINUING STATUS CONFERENCE AND
          v.                           )   EXCLUDING TIME
14                                     )
     JUAN MADRIGAL RIZO,               )
15                                     )
               Defendant.              )    Hon. GARLAND E. BURRELL, JR.
16                                     )
17
18        The United States of America, through its counsels of
19   record, Benjamin B. Wagner, United States Attorney for the
20   Eastern District of California, and Michael M. Beckwith,
21   Assistant United States Attorney, defendant Juan Madrigal Rizo,
22   through his counsel of record, Gilbert Roque, request that the
23   status conference currently set for September 24, 2010, be
24   continued to October 15, 2010, and stipulate that the time
25   beginning September 24, 2010, and extending through October 4,
26   2010, should be excluded from the calculation of time under the
27   Speedy Trial Act.
28         The parties submit that the ends of justice are served by

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1    the Court excluding such time, so that counsel for the defendant
2    may have reasonable time necessary for effective preparation,
3    taking into account the exercise of due diligence.         18 U.S.C. §
4    3161(h)(7)(B)(iv); Local Code T4.
5          The parties stipulate and agree that the interests of
6    justice served by granting this continuance outweigh the best
7    interests of the public and the defendants in a speedy trial.          18
8    U.S.C. § 3161(h)(7)(A).
9    IT IS SO STIPULATED.
10                                           BENJAMIN B. WAGNER
                                             United States Attorney
11
     Dated: September 24, 2010         By:   /s/ Michael M. Beckwith
12                                           MICHAEL M. BECKWTIH
                                             Assistant U.S. Attorney
13                                           Attorney for Plaintiff
14
     DATED: September 24, 2010               By: /s/ Gilbert Roque
15                                           GILBERT ROQUE
                                             Attorney for Defendant
16                                           JUAN MADRIGAL RIZO
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1
                                          ORDER
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          The status conference in case number CR. S 08-392 GEB,
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     currently set for September 24, 2010, is continued to October 15,
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     2010, and the time beginning September 24, 2010, and extending
5
     through October 15, 2010, is excluded from the calculation of
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     time under the Speedy Trial Act.           For the reasons stated in the
7
     above stipulation, the Court finds that interests of justice
8
     served by granting this continuance outweigh the best interests
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     of the public and the defendants in a speedy trial.             18 U.S.C. §
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     3161(h)(7)(A).
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12
     IT IS SO ORDERED.
13
14   Dated:     September 26, 2010

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16                                     GARLAND E. BURRELL, JR.
                                       United States District Judge
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